            Case 1:19-cv-00150-DLF Document 69 Filed 10/25/21 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
BROIDY CAPITAL                                 )
MANAGEMENT LLC, et al.,                        )
                                               )
                Plaintiffs,                    )
                                               )       Case No. 1:19CV150 (DLF)
       v.                                      )
                                               )
NICOLAS D. MUZIN, et al.,                      )
                                               )
                Defendants.                    )
                                               )

                   PLAINTIFFS’ OBJECTION TO STATE OF QATAR’S
                 NOTICE OF INTEREST AND NOTICE OF APPEARANCE

       Qatar’s recently filed notice is entirely without legal basis and its bizarre request that its

counsel be “added to the docket” in this matter should be summarily denied.

       Plaintiffs Elliott Broidy and Broidy Capital Management LLC object to the Notice of

Interest (ECF No. 66) and Notice of Appearance (ECF No. 67) filed by the State of Qatar. Qatar

cites no legal or procedural authority for its “Notice of Interest,” because there is no such authority.

See ECF No. 66. It is axiomatic that litigation in federal courts is between parties, properly served

or permitted to intervene pursuant to the Federal Rules of Civil Procedure. Non-parties who are

“interested” in any case are just that—outsiders free to monitor public filings and, if they so desire,

to seek to intervene under the rules. There is no exception to this longstanding system just because

a foreign government self-proclaims an “interest” in a case or potential discovery in a case.

Moreover, Qatar’s notice lacks the formality and precision required for federal court motions (i.e.

mentioning “appropriate participation” without specifying the rule or statute allowing

participation), and for that reason alone, should be denied. See Fed. R. Civ. P. 7(b)(1).
          Case 1:19-cv-00150-DLF Document 69 Filed 10/25/21 Page 2 of 4




       Qatar wrongly suggests it should be allowed to enter an appearance in the case for the

purpose of “monitoring” the litigation. Entering an appearance is not required to receive notices

of electronic filings (“NEFs”) in CM/ECF, as anyone is permitted to do so. These NEFs will

necessarily include pre-service notices of any document subpoenas. See Fed. R. Civ. P. 45(a)(4).

Thus, even if there was some legal basis for it, Qatar’s contention that its appearance is necessary

for “enabling it to monitor the proceedings” is groundless. ECF No. 66 at 1.

       Qatar’s real reason for attempting to enter its appearance in this unprecedented way is to

participate in the litigation without following the requisite procedures. See id. at 2 (asking to

“participate as necessary and appropriate as a non-party in this action”). A non-party, such as

Qatar, can participate as to a particular discovery issue only by moving to intervene under Fed. R.

Civ. P. 24. See United States v. AT&T Co., 642 F.2d 1285, 1292 (D.C. Cir. 1980); see also Hobson

v. Hansen, 44 F.R.D. 18, 25 (D.D.C. 1968) (rejecting the notion of “carte blanche” intervention

“by anyone at any time”). Although Qatar tacitly acknowledges that it must move to intervene, it

simply refuses to do so. See ECF No. 66 at 1 (“Qatar does not seek to intervene in this litigation .

. . .”). The Court cannot allow Qatar to bypass the rules based on its legally fictional “Notice of

Interest.” There is no precedent for a formal entry of appearance to an outsider to “monitor” and

“participate” in litigation without intervening.

       On the substance, even if there were a proper procedure available, Qatar has not

demonstrated a concrete interest in these proceedings to justify its entry of an appearance.

Discovery has been stayed since June 2019, see Minute Order of June 17, 2019, and the parties

have not yet held a Rule 26(f) conference or negotiated a protective order. Thus, Qatar has no

basis for arguing that “Plaintiffs will pursue discovery in this action that does not properly respect

Qatar’s sovereignty and immunities.” ECF No. 66 at 2. In any event, each of the named defendants



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          Case 1:19-cv-00150-DLF Document 69 Filed 10/25/21 Page 3 of 4




has been a foreign registered agent for Qatar and will presumably ensure that Qatar’s interests are

protected throughout the discovery process. Any conflict with Qatar’s purported sovereignty

interests is premature, at best. Furthermore, violation of U.S. laws by U.S. citizens against U.S.

citizens, committed on U.S. soil, cannot violate Qatar’s sovereignty and immunity in any event.

       In sum, the Court should strike Qatar’s Notice of Interest and Notice of Appearance, direct

the Clerk to remove Qatar from the docket, and order that Qatar must move to intervene under

Fed. R. Civ. P. 24 should it wish to participate as to a given discovery issue. Plaintiffs reserve the

right to object to any intervention by Qatar, should Qatar seek formal intervention.



Dated: October 25, 2021                        Respectfully submitted,
                                               BROIDY CAPITAL MANAGEMENT LLC and
                                               ELLIOTT BROIDY
                                               By Counsel

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                                                  3
         Case 1:19-cv-00150-DLF Document 69 Filed 10/25/21 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I certify that, on October 25, 2021, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notice to all counsel of record.

                                              s/ George J. Terwilliger III




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